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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


  UNITED STATES OF AMERICA,

        Plaintiff,

  vs.                                           Case No. 15-20652
                                                HON. GEORGE CARAM STEEH

  ARLANDIS SHY (D-13),

        Defendant(s).

   _________________________________________________________________


                         INDEX OF EXHIBITS
             TRANSCRIPTS TO GOVERNMENT TRIAL EXHIBITS

        The following transcripts to the government’s audio-video trial Exhibits 61,

  62, 65, 66, and 189, are filed with the Clerk of the Court pursuant to the Trial

  Court’s Order (Doc. 1671, 8/26/20):

  Exhibit            Description


  1                  Transcript for Govt. Ex. 61, rap video “Hob City”


  2                  Transcript for Govt. Ex. 62, rap video “MurDa”


  3                  Transcript for Govt. Ex. 65, rap video “Bleek”




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  4                 Transcript for Govt. Ex. 66, rap video “Bag Up”


  5                 Transcript for Govt. Ex. 189, rap video “Camp 9”




                                      Respectfully submitted,
  Dated: September 9, 2020
                                      By: /s/Mark H. Magidson
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